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 8                                   UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    UNITED STATES OF AMERICA,                        No. 2:18-cr-00055-KJM
12                      Plaintiff,
13           v.                                        ORDER
14    THOMAS WAYNE CAPENHURST and
      ROBERT LEE McGRAW,
15
                        Defendants.
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18                  Defendants Thomas Wayne Capenhurst and Robert Lee McGraw (collectively

19   “defendants”) each have filed motions to dismiss, ECF Nos. 22, 23, and 27, and the government

20   filed a motion to disqualify counsel, ECF No. 24. On October 1, 2018, the court heard oral

21   argument on the motions. At the hearing the court DENIED the government’s motion to

22   disqualify counsel without prejudice, ECF No. 24, and GRANTED in part and DENIED in part

23   McGraw’s motion to dismiss, ECF No. 27. The court also DENIED defendant Capenhurst’s

24   motion, ECF No. 22, as to the Commerce Clause issue, and submitted the motion in all other

25   respects. Here, the court memorializes its rulings from the bench, provides further explanation

26   where necessary, and resolves the balance of the submitted motions below.

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 1   I.      BACKGROUND
 2                    On March 15, 2018, defendants were indicted on three separate counts of
 3   conspiracy, malicious use of explosive materials, and use of a destructive device in relation to a
 4   crime of violence. ECF No. 12. A fourth count charges McGraw with possession of an
 5   unregistered destructive device. Id. The indictment stems from an alleged conspiracy including
 6   Capenhurst and McGraw and their plan to place a pipe bomb at the home of Capenhurst’s older
 7   brother, David Capenhurst. ECF No. 22 at 2.1
 8                    On July 1, 2018, Capenhurst moved to dismiss the indictment on the following
 9   grounds: (1) the court lacks jurisdiction over Count Two because Congress’s commerce power
10   does not extend to private residences under 18 U.S.C. § 844(i); (2) the court lacks subject matter
11   jurisdiction over Count One based on improperly plead facts under 18 U.S.C. § 371; (3) Count
12   One must be dismissed under the doctrine of legal impossibility; and (4) Count Three must be
13   dismissed because it fails to satisfy the elements of § 924(c)(3)(A), and § 924(c)(3)(B) is
14   unconstitutionally vague. Id. at 3–15.
15                    On July 2, 2018, McGraw moved separately to dismiss Count Three predicated on
16   the same arguments made by Capenhurst regarding § 924(c)(3): (1) § 844(i) does not satisfy the
17   “crime of violence” elements under § 924(c)(3)(A), and (2) the residual clause, § 924(c)(3)(B), is
18   unconstitutionally vague. ECF No. 23. On July 16, 2018, McGraw further moved to dismiss
19   Counts One and Two based on improper pleading under Federal Rule of Criminal Procedure 7,
20   or, in the alternative, for a bill of particulars to describe what facts support the presence of
21   interstate commerce with respect to the offense charged. ECF No. 27.
22                    In its omnibus response, the government argues that Counts One and Two are
23   properly pled and squarely within Congress’s commerce power, and asks the court to deploy a
24   new, case-specific approach to § 924(c)(3)(B) in light of the Supreme Court’s holding in
25   Sessions v. Dimaya, 138 S. Ct. 1204 (2018). ECF No. 32. The government also moves to
26   disqualify Capenhurst’s counsel, Tim Pori, based on a conflict of interest the government says he
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28               ECF citations refer to ECF pagination only, not to internal document pagination.
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 1   has in light of his past representation of Capenhurst’s older brother, David Capenhurst. ECF
 2   No. 24.
 3                  At the October 1, 2018 hearing on the motions, as noted, the court made several
 4   rulings from the bench and submitted the balance of the motions for resolution by written order.
 5   See ECF No. 35. Each motion is addressed below.
 6   II.       GOVERNMENT’S MOTION TO DISQUALIFY COUNSEL
 7                  At the October 1, 2018 hearing, the court heard arguments on the government’s
 8   motion to disqualify Capenhurst’s counsel, Tim Pori. ECF No. 24. As it explained then, the
 9   court found the government’s motion to be premature. The court advised Capenhurst of the
10   potential conflict and his right to waive the conflict. After a colloquy carefully reviewing the
11   waiver language contained in counsel’s declaration, ECF No. 30–1 at 3–4, ¶¶ 11–13, the court
12   determined that Capenhurst is making a knowing and intelligible waiver of any actual or potential
13   conflict with respect to his attorney, Tim Pori, and his attorney’s representation of his brother,
14   David Capenhurst. Capenhurst acknowledged that his waiver includes the right to appeal or
15   collaterally attack based on the conflict issue.
16                  In light of this waiver, the court DENIED the government’s motion, ECF No. 24,
17   without prejudice.
18   III.      MCGRAW’S MOTION TO DISMISS COUNTS ONE AND TWO
19                  Also at hearing, the court addressed McGraw’s motion to dismiss Counts One and
20   Two, ECF No. 27, based on improper pleading under Federal Rules of Criminal Procedure 7, or,
21   in the alternative, for a bill of particulars. Although the court indicated its agreement with the
22   government’s reading of United States v. Renteria, 557 F.3d 1003, 1006–07 (9th Cir. 2009)
23   (finding no heightened pleading requirement under § 844(i)), the government ultimately agreed to
24   respond to McGraw’s request for a bill of particulars.
25                  As determined at hearing, McGraw’s motion was GRANTED as to the request for
26   a bill of particulars, and DENIED in all other respects. At hearing on November 5, 2018, the
27   government provided defense counsel with discovery that it represented mooted the need for a
28   bill of particulars; defense counsel agreed.
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 1   IV.    CAPENHURST’S MOTION TO DISMISS COUNTS ONE AND TWO
 2                   Capenhurst moves to dismiss Count Two, arguing Congress did not intend to

 3   extend its commerce power to a private residence under 18 U.S.C. § 844(i); if the private

 4   residence is beyond the reach of § 844(i), then the court lacks jurisdiction over the activity and

 5   Count Two, and related Count One, must be dismissed. ECF No. 22 at 3–7. In response, the

 6   government points to Ninth Circuit authority, including United States v. Garcia, 768 F.3d 822,

 7   828–30 (9th Cir. 2014), for the rule that rental properties of the type affected here are squarely

 8   included within the meaning of § 844(i). ECF No. 32 at 10.2 The government is correct.

 9                   It is elementary that Congress possesses the power to regulate the instrumentalities

10   of interstate commerce. U.S. Const. art. I, § 8, cl. 3. Although this power is broad, it is not

11   absolute. United States v. Morrison, 529 U.S. 598, 608 (2000). The regulated activity must

12   “substantially affect[] interstate commerce” in order for a statute to be upheld under the

13   Commerce Clause. United States v. Lopez, 514 U.S. 549, 560 (1995). Similarly, even if the

14   statute itself comports with the Commerce Clause, each individual activity that may fall within

15   the statute’s purview must also satisfy the “substantial affect” test to ensure the court has

16   jurisdiction over the regulated activity. Id. at 561 (striking down firearm statute containing “no

17   jurisdictional element which would ensure, through case-by-case inquiry, that the firearm

18   possession in question affects interstate commerce.”).

19                   As the Supreme Court explained in Russell v. United States, § 844(i) “applies to

20   property that is used in an activity that affects commerce. The rental of real estate is

21   unquestionably such an activity.” 471 U.S. 858, 862 (1985) (internal quotations omitted). In

22   discussing Russell, the Ninth Circuit affirmed “Russell’s per se rule that damage to a rental

23   apartment building satisfies the jurisdictional provisions of 18 U.S.C. § 844(i).” Garcia, 768 F.3d

24   at 831. In United States v. Mahon, the Ninth Circuit further clarified that even if the subject

25   property is “intrinsically noneconomic,” it can still “qualify under § 844(i) if the building actively

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28              Citations are to the page numbers assigned by the court’s CM/ECF system.
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 1   engages in interstate commerce or activity that affects interstate commerce, as there is no
 2   categorical exclusion of any type of building.” 804 F.3d 946, 951 (9th Cir. 2015).3
 3                  Here, the indictment identifies the subject property as 1010 Blue Jay Drive, Suisun
 4   City, California, and states that the property was “being used in interstate commerce, and in an
 5   activity affecting interstate commerce.” ECF No. 12 at 1–2. Although the indictment makes no
 6   mention of the property’s precise economic function, the affidavit supporting the criminal
 7   complaint that preceded the indictment states, “David and Christina Capenhurst are renting the
 8   home at 1010 Blue Jay Drive.” ECF No. 1 at 3. Additionally, as the government claims and the
 9   defense does not dispute, discovery produced thus far is “replete with references to the rental
10   character of the property.” ECF No. 32 at 10. In light of these representations, and the applicable
11   precedent, the court is satisfied that the rental nature of 1010 Blue Jay Drive meets the
12   jurisdictional requirements of § 844(i).
13                  Based on this finding, the balance of Capenhurst’s motion based on the Commerce
14   Clause must also be denied, as the additional arguments hinge on dismissal of Count Two. See
15   ECF No. 22 at 7 (moving to dismiss Count One based on lack of subject matter jurisdiction or
16   doctrine of legal impossibility).
17                  For these reasons, Capenhurst’s motion to dismiss Counts One and Two was
18   DENIED. Capenhurst’s motion to dismiss Count Three is addressed below.
19   V.      DEFENDANTS’ MOTIONS TO DISMISS COUNT THREE
20                  Defendants jointly move to dismiss Count Three of the indictment, claiming that
21   the Supreme Court decisions in Johnson v. United States, 135 S. Ct. 2551 (2015) (“Johnson II”)
22   and Sessions v. Dimaya, 138 S. Ct. 1204 (2018), render the residual clause of 18 U.S.C.
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               Mahon includes a string cite of cases as providing examples of when a facility "actively
     engages" in interstate commerce. The examples include a church that used a radio broadcast
26   reaching neighboring states in order to promote events, with concession goods made available,
27   and a church that ran a daycare center out of its facility during the week. 804 F.3d at 952.
     (citations omitted). In Mahon itself, the court found the City’s "Office of Diversity" to be
28   "actively engaged" in interstate commerce. Id. at 952–53.
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 1   § 924(c)(3) unconstitutionally vague. See ECF Nos. 22 and 23. For the reasons set forth below,
 2   defendants’ motions are GRANTED.
 3          A.      The Elements Clause – 18 U.S.C. § 924(c)(3)(A)
 4                  In Count Three of the indictment, defendants are charged under § 924(c)(1)(B)(ii)
 5   with use of a destructive device during and in relation to a crime of violence. Section 924(c)(3)
 6   defines a “crime of violence” as an offense that is a felony and “(A) has as an element the use,
 7   attempted use, or threatened use of physical force against the person or property of another, or
 8   (B) that by its nature, involves a substantial risk that physical force against the person or property
 9   of another may be used in the course of committing the offense.” 18 U.S.C. § 924(c)(3)(A)-(B).
10                  Clause (A), commonly referred to as the “elements clause,” requires that the
11   underlying, or predicate, offense contain an element similar or identical to at least one of the
12   enumerated types of force under clause (A) in order for the charged activity to be deemed a
13   “crime of violence.” Id. § 924(c)(3)(A). Here, the government concedes that the underlying
14   § 844(i) offense cannot qualify as a “crime of violence” under the elements clause. See generally
15   ECF No. 32 (providing no argument in opposition to defendants’ argument that § 844(i) fails
16   under elements clause analysis). Instead, the government places its focus on the residual clause,
17   § 924(c)(3)(B), requiring that an offense “by its nature” involve “a substantial risk that physical
18   force against the person or property of another may be used” in commission of the offense.
19          B.      The Parties’ Arguments
20                  1.      Defendants
21                  As defendants correctly explain, the Court in Johnson II declared the residual
22   clause of the Armed Career Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii),
23   unconstitutionally vague because of the uncertainty created when applying the categorical
24   approach to the residual clause, as mandated by James v. United States, 550 U.S. 192 (2007). See
25   ECF No. 23 at 8.4 In similar fashion, the Dimaya Court found the residual clause of 18 U.S.C.
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27             Because Capenhurst’s arguments mirror and, in many ways, are bolstered by the more
     substantive arguments contained in McGraw’s briefing on the issue, the court cites to McGraw’s
28   brief for arguments made on defendants’ behalf.
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 1   § 16(b), which defines a “crime of violence,” unconstitutionally vague because, when subjected
 2   to the categorical approach, it created substantial uncertainty as to what constitutes an “ordinary
 3   case” and the level of risk necessary to deem a crime “violent” under the statute. See id. at 9
 4   (reviewing Dimaya, 138 S. Ct. at 1213-15). In reaching its decision, as defendants note, the
 5   Dimaya Court also relied on the textual similarities between the ACCA and § 16(b), and noted
 6   that the features rendering the ACCA unconstitutionally vague were also present in § 16(b). See
 7   id. (citing Dimaya, 138 S. Ct. at 1218-19).
 8                    Defendants argue that invalidation of § 924(c)(3)(B) is the logical next step after
 9   Johnson II and Dimaya, because the language of § 924(c)(3)(B) is nearly identical to that of
10   § 16(b). Id. at 11. Additionally, because Ninth Circuit precedent calls for application of the
11   categorical approach to § 924(c)(3)(B), any infirmity embodied in the residual clause cannot be
12   cured by applying an alternative approach. Id. (citing United States v. Piccolo, 441 F.3d 1084,
13   1086–87 (9th Cir. 2006) and United States v. Baires-Reyes, 191 F. Supp. 3d 1046, 1053 (N.D.
14   Cal. 2016)). Defendants urge the court to follow the numerous courts that have found
15   § 924(c)(3)(B) void for vagueness after Johnson II, noting those cases that also relied on the
16   Ninth Circuit’s decision affirmed in Dimaya. Id. at 10-11 (collecting cases, discussing cases
17   applying Circuit’s Dimaya decision5 prior to its being affirmed).
18                    2.     The Government’s Opposition
19                    In opposition, the government observes that Dimaya implies the invalidation of
20   § 924(c)(3)(B), but only if the categorical approach applies. ECF No. 32 at 12-13. It posits that
21   the Court in Dimaya does not “invariably mandate[]” application of the categorical approach to a
22   residual clause such as § 16(b), or § 924(c)(3)(B) here; rather, it leaves open an invitation,
23   extended by Justice Gorsuch’s concurrence, to test the necessity of the categorical approach by
24   applying an alternative, case-specific approach. Id. at 13–14.
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28               Dimaya v. Lynch, 803 F.3d 1110 (9th Cir. 2015).
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 1                  This is particularly true, the government says, given the language of
 2   § 924(c)(3)(B), because unlike the text of the ACCA and § 16(b), considered in Johnson II and
 3   Dimaya, respectively, § 924(c)(3)(B) lends itself to resolution during trial, part and parcel with
 4   the other questions put to a jury tasked with determining whether the government has proven its
 5   case. Id. at 14–17. Provided with instructions based on the plain language of the statute, for
 6   example, a jury “can readily determine whether a defendant’s underlying ‘offense. . . by its nature
 7   involves’ the use of physical force in the course of its commission without needing to consider
 8   what the ‘ordinary case’ of that offense might be.” Id. at 16. Such an approach eliminates the
 9   need for an abstract comparison to a defendant’s prior conviction, which can only be performed
10   by the court. Id. In other words, the government argues, the reasoning underlying the need for
11   the categorical approach applied to the ACCA and § 16(b) is not present when a charge is based
12   on § 924(c)(3)(B). Id. at 21. The government also reads the statutory text of § 924(c)(3)(B) as
13   consistent with a case-specific approach, requiring an inquiry into “other” offenses that fall
14   outside those listed in § 924(c)(3)(A); the traditional method of conducting such an inquiry into
15   “qualitative standard[s] such as substantial risk is to do so by reference to real-world conduct.”
16   Id. at 17 (internal quotations and citations omitted).
17                  Lastly, in combination with the above, the government asks the court to apply the
18   interpretive canon of constitutional avoidance when construing § 924(c)(3)(B). Id. at 21. It urges
19   that invoking the avoidance canon is especially appropriate where a statute may otherwise be
20   found unconstitutionally vague. Id.
21          C.      Ninth Circuit Precedent in Light of Johnson II and Dimaya
22                  The parties’ interpretations of Johnson II and Dimaya are, in many respects, not in
23   conflict. They disagree, however, regarding the interplay of Ninth Circuit precedent, the
24   reasoning underlying Johnson II, and the effect of the plurality opinion in Dimaya. Defendants
25   argue that Johnson II and Dimaya do nothing to undermine the Ninth Circuit’s requirement that
26   the categorical approach be applied to each of § 924(c)(3)’s provisions. ECF No. 33 at 3. The
27   government, while acknowledging its position reflects a sea change, argues that the Supreme
28   Court’s reasoning in both Johnson II and the Dimaya plurality aligns with the implicit invitation
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 1   extended by the Dimaya concurrence to test the necessity of applying the categorical approach to
 2   § 924(c)(3)(B). ECF No. 32 at 13–14 (noting “the majority of courts of appeals, like the
 3   government, have previously viewed Section 924(c)(3)(B) to require a categorical approach”).
 4   To resolve the parties’ disagreement, the court briefly reviews the state of the law in the Ninth
 5   Circuit.
 6                  1.      Categorical Approach in the Ninth Circuit
 7                  In United States v. Benally, 843 F.3d 350, 352 (9th Cir. 2016), the court opined
 8   that “[t]o determine . . . a crime of violence [under 924(c)] we apply the ‘categorical approach.’”
 9   (relying on, inter alia, Taylor v. United States, 495 U.S. 575 (1990)). Previously, in United States
10   v. Amparo, 68 F.3d 1222, 1224 (9th Cir. 1995), also relied on in Benally, the Circuit stated
11   unequivocally that it “has adopted a categorical approach to determining which offenses are
12   included under section 924(c) as ‘crimes of violence’ obviating the need for fact finding by the
13   jury.” See also United States v. Piccolo, 441 F.3d 1084, 1086 (9th Cir. 2006), as amended (Apr.
14   20, 2006) (applying categorical approach to “catchall” provision of U.S.S.G. § 4B1.2(a)(2),
15   whose language tracks that of § 924(c)(3)(B); holding for purposes of sentencing escape not
16   categorically crime of violence). Try as this court might, it cannot read Circuit precedent as
17   allowing an exception to the presumptive application of the categorical approach here.
18                  Two matters are currently pending that may provide an opportunity for the Circuit
19   to modify its position on the categorical approach. See United States v. Dominguez, No. 14-
20   10268; United States v. Begay, No. 14-10080.6 In United States v. Begay, the court ordered
21   supplemental briefing post-Dimaya. See Order, filed Apr. 23, 2018, Dkt. No. 90. In response, the
22   parties in that matter have presented arguments that mirror the parties’ arguments here: appellant
23   argues that Dimaya did nothing to disrupt Ninth Circuit precedent requiring the categorical
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               The case of United States v. Gaytan, No. 14-10167 (9th Cir. Aug. 8, 2018), presented
     the same argument to the Circuit, but the case was ultimately resolved on other grounds. See
26   Order Granting Gov’t’s Unopposed Mot. to Vacate Convictions (issued Aug. 8, 2018). While
27   the Circuit recently decided Guerrero v. Whitaker, No. 15-72080, 2018 WL 5852651 (9th Cir.
     Nov. 9, 2018), that case addressed whether a different statute is unconstitutionally vague in light
28   of Johnson II and Dimaya; this decision does not affect the analysis here.
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 1   approach, Appellant’s Supp. Br. at 3–8, filed June 7, 2018, Dkt. No. 91, while the government
 2   urges the court to implement a new case-specific approach after Dimaya, Gov’t Supp. Br. at 4–15,
 3   filed June 7, 2018, Dkt. No. 92. Thus, in all material respects, the issues raised by the motions
 4   before this court are before the Circuit at this time. There is no clear indication as to when the
 5   Circuit will render a decision, however, and this court is prepared to rule on the pending motions
 6   based on the current state of the law. See United States v. Tinh Huy Nguyen, No. 16-CV-03543-
 7   LHK, 2018 WL 3972271, at *10 (N.D. Cal. Aug. 20, 2018) (“Ninth Circuit decision remains
 8   binding authority unless its ‘reasoning or theory . . . is clearly irreconcilable with the reasoning or
 9   theory of intervening higher authority.’” (citation omitted))
10                  Other district courts in the Ninth Circuit have addressed the question posed here,
11   recently and since Dimaya was decided. All have determined that the categorical approach must
12   be applied to both subparts of § 924(c)(3). See id. at *10 (in considering issue raised by § 2255
13   motion, “the Ninth Circuit repeatedly has made clear that the categorical approach applies to §
14   924(c)(3), including the residual clause”); see also United States v. Canfield, 323 F. Supp. 3d
15   1155, 1160-63 (D. Mont. 2018); Lee v. United States, 2018 WL 4906327, at *20-21 (D. Ariz.
16   July 6, 2018), report and recommendation adopted as modified on other grounds, 2018 WL
17   4899567 (D. Ariz. Oct. 9, 2018); United States v. Sangalang, 2018 WL 2670412 (D. Nev. June 4,
18   2018). Having reviewed these well-reasoned decisions, this court agrees it is bound to apply the
19   categorical approach to the residual clause of § 924(c)(3)(B).
20                  2.      Application of Johnson II and Dimaya
21                  In Johnson II, the court identified two primary concerns rendering the ACCA’s
22   residual clause unconstitutional: (1) denial of “fair notice,” and (2) “arbitrary enforcement.”
23   Johnson II, 135 S. Ct. at 2557. Recognizing the problem lay as much in the “ordinary case”
24   approach as it did with the statutory text itself, due to the unpredictability of considering an
25   “imaginary condition,” the Court found ACCA’s residual clause unconstitutionally vague and
26   declined to adopt a new case-specific approach. Id. at 2561 (citation omitted). Similarly, Dimaya
27   held that § 16(b)’s residual clause could not survive due to the uncertainty created when
28   considering the “ordinary version of an[] offense.” 138 S. Ct. at 1214 (citation omitted). Neither
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 1   the plurality opinion in Dimaya, nor the decision in Johnson II, abandoned the categorical
 2   approach despite the vociferous arguments of the dissenters. See, e.g., id. at 1252–57 (Thomas,
 3   J., with Kennedy, Alito, JJ., dissenting) (responding that “the plurality is wrong to suggest that
 4   the underlying-conduct approach would necessarily ‘ping-pong us from one constitutional issue
 5   to another.’”).
 6                     As the government argues, Dimaya can be distinguished from this case, given the
 7   context provided by § 924(c)(3)(B) here. Specifically, the Dimaya plurality cited four reasons for
 8   declining to abandon the categorical approach. First, the government in that case did not argue
 9   that the “ordinary case” construction approach should be abandoned. Dimaya, 138 S. Ct. at 1217.
10   Second, a case-specific approach would create its own Sixth Amendment issues, in that courts
11   would be making findings of fact specifically reserved for the jury. Id. Third, the “by its nature”
12   text of § 16(b) requires application of a categorical approach because the court must examine
13   what a crime entails in the ordinary case, not what happened on a single occasion. Id. at 1217–
14   18. And finally, a case-specific approach would impose the impractical task of recreating a
15   factual foundation years after the underlying conviction conduct. Id. The government urges
16   these reasons do not apply here in light of the distinction between § 16(b)’s imperative to look to
17   prior offenses, and § 924(c)(3)(B)’s concurrent view, where factual findings can be made in
18   connection with determining whether the underlying offense was committed. ECF No. 32 at 17–
19   21.
20                     Conceptually, the government’s position has some appeal. And the Second Circuit
21   recently has adopted this reasoning, in essence, in United States v. Barrett, 903 F.3d 166, 181–82
22   (2d Cir. 2018). In Barrett, that court stated:
23                     [P]ost-conviction . . . judicial identification of crimes of violence
                       must be categorical . . . § 924(c)(3), however, is not concerned with
24                     prior convictions . . . [t]this means that a conduct-specific
                       identification of a predicate offense as a crime of violence can be
25                     made without raising either of the constitutional concerns that have
                       informed the Supreme Court’s categorical-approach jurisprudence.
26

27   Id. (emphases in original). But Barrett is persuasive only and at least one other Circuit so far
28   disagrees. See United States v. Salas, 889 F.3d 681, 686 (10th Cir. 2018) (finding § 924(c)(3)(B)
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 1   unconstitutionally vague). In any event, Barrett’s application by this court is foreclosed by the
 2   Ninth Circuit precedent reviewed above. While the government ultimately may be correct, its
 3   argument is for the Ninth Circuit and perhaps ultimately the Supreme Court to resolve.
 4                   3.      Application Here
 5                   Having determined that the categorical approach applies, the analysis of the
 6   question here is straightforward. First, the relevant language of § 16(b) and § 924(c)(3)(B) is
 7   virtually identical, as set forth below:
 8                   (b) . . . that, by its nature, involves a substantial risk that physical
                     force against the person or property of another may be used in the
 9                   course of committing the offense.
10   18 U.S.C. § 16(b).
11                   (B) that by its nature, involves a substantial risk that physical force
                     against the person or property of another may be used in the course
12                   of committing the offense.
13   18 U.S.C. § 924(c)(3)(B).
14                   As a matter of general construction, it is “well-established . . . that the same words
15   or phrases are presumed to have the same meaning when used in different parts of a statute.”
16   Prieto-Romero v. Clark, 534 F.3d 1053, 1061 n.7 (9th Cir. 2008). From a purely textual
17   standpoint, the court need not treat the two texts differently, nor does the government ask it to.
18   See generally ECF No. 32.
19                   Given the equivalency of the statutory language, and for the same reasons other
20   district courts in the Ninth Circuit have spelled out in sufficient detail to clarify the reasoning this
21   court adopts, the court must conclude that the language of § 924(c)(3)(B) embodies the same
22   flaws of unpredictability and arbitrariness that doomed the residual clause of § 16(b), as well as
23   that of the ACCA. See, e.g., Tinh Huy Nguyen, 2018 WL 3972271 at *14-15.
24                   The court finds the residual clause, § 924(c)(3)(B), to be unconstitutionally vague
25   in light of Dimaya. Defendants’ motions to dismiss Count Three are GRANTED.
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 1   VI.   CONCLUSION
 2               Accordingly, IT IS HEREBY ORDERED as follows:
 3         A.    The government’s motion to disqualify counsel, ECF No. 24, is DENIED without
 4               prejudice.
 5         B.    McGraw’s motion to dismiss, ECF No. 27, is GRANTED as to the request for a
 6               bill of particulars, and DENIED in all other respects. The requirement of a bill of
 7               particulars, however, is MOOTED by the government’s production of discovery to
 8               the defense on November 5, 2018.
 9         C.    Capenhurst’s motion to dismiss Counts One and Two, ECF No. 22, is DENIED in
10               part as to the Commerce Clause issue only.
11         D.    Defendants’ motions to dismiss Count Three, ECF No. 22 and 23, are GRANTED.
12               Count Three of the indictment is dismissed as based on an unconstitutionally
13               vague statute.
14   DATED: November 21, 2018.
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                                           UNITED STATES DISTRICT JUDGE
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